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             EXHIBIT 10
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                   UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER;
BRIANNA BOE, individually and on behalf
of her minor son, MICHAEL BOE; JAMES
ZOE, individually and on behalf of his minor
son, ZACHARY ZOE; MEGAN POE,
individually and on behalf of her minor            Civil Action No.
daughter, ALLISON POE; KATHY NOE,                  ____________
individually and on behalf of her minor son,
CHRISTOPHER NOE; JANE MOE, Ph.D.;
and RACHEL KOE, M.D.
                                                   DECLARATION OF
       Plaintiffs,                                 RACHEL KOE, MD, IN
                                                   SUPPORT OF
v.                                                 PLAINTIFFS’ MOTION
                                                   FOR TEMPORARY
KAY IVEY, in her official capacity as              RESTRAINING ORDER
Governor of the State of Alabama; STEVE            & PRELIMINARY
MARSHALL, in his official capacity as              INJUNCTION
Attorney General of the State of Alabama;
DARYL D. BAILEY, in his official capacity
as District Attorney for Montgomery County;
C. WILSON BAYLOCK, in his official
capacity as District Attorney for Cullman
County; JESSICA VENTIERE, in her official
capacity as District Attorney for Lee County;
TOM ANDERSON, in his official capacity as
District Attorney for the 12th Judicial Circuit;
and DANNY CARR, in his official capacity
as District Attorney for Jefferson County.

       Defendants.




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       I, Rachel Koe,1 declare as follows:

       1.     I am a physician licensed to practice by the State of Alabama. I work in

southeast Alabama.

       2.     I attended medical school in Alabama and, since completing my

pediatrics residency, have provided care to patients in rural southeast Alabama. I

have been practicing for approximately ten years.

       3.     As a board-certified pediatrician, I treat patients from birth to nineteen

years of age. Because I provide primary medical care, my patients present with a

wide range of physical and mental health conditions. That also means that I have a

wide network of medical and mental health providers that I rely on to refer patients

who require subspecialty care. I am very careful with my referrals, ensuring that I

am referring my patients to providers who offer quality care and follow evidence-

based medicine.

       4.     About eight years ago, I started treating my first transgender patient. I

had learned about gender dysphoria during my medical residency, but had never

treated a transgender patient. When the patient first came under my care, he was

seeing a therapist, a psychiatrist, and pastoral counselor, but his health and wellbeing




1
 Because of concerns about criminal liability and my privacy and safety, I am seeking to proceed
in this case under a pseudonym. See Motion to Proceed Pseudonymously, filed concurrently
herewith. In addition, contemporaneous with signing this declaration, I have signed with my legal
name a separate copy of this declaration. My attorneys have a copy of that separate declaration.


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were not improving despite this care. His mother knew that her son, who had been

assigned female at birth, was struggling with gender dysphoria, but the only answer

she had been given to that point was more psychiatric medication. She came to me

scared that her son’s declining mental health was placing him at serious risk for self-

harm or even suicide.

      5.     Because of my involvement in pediatrics community in Alabama, I had

heard of the gender clinic at UAB and referred this patient to the clinic. The referral

was life changing for my patient. After about six months, he started puberty-blocking

medications and approximately eighteen months later began taking testosterone.

Over that time, my patient became a totally different child. He blossomed in ways

that neither I nor his mother could have anticipated.

      6.     Due to the distance between my patient’s home and the gender clinic in

Birmingham, he would come to my office for regular blood work. I would always

review the test results to make sure there wasn’t something urgently wrong and

would then pass the results along to his medical providers at the UAB gender clinic.

Once my patient started testosterone, he did not feel comfortable self-administering

the medication so he came to my office every other week to have my medical staff

give him his medication.




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      7.     This patient has graduated from my practice, but his mother keeps me

updated on his life. According to his mother, he continues to thrive as a healthy and

well-adjusted adult.

      8.     After seeing the difference in my patient once he received care at the

gender clinic, I started to learn more about medical treatments for gender dysphoria

so that I would be better able to answer questions posed to me by future patients and

their parents. As part of my self-study, I familiarized myself with the medical

literature including publications by the World Professional Association for

Transgender Health and the Endocrine Society detailing the standards of care for

medical treatment for gender dysphoria.

      9.     Since then, I have treated four more transgender patients. When those

patients first came to see me, most had just started expressing that they were

transgender. Given that, I referred them to local mental health providers for support.

Once the patient was diagnosed with gender dysphoria and reached an age where

medical treatment may be appropriate, I referred them to the gender clinic for further

evaluation and specialty care. As with my first patient eight years ago, these patients

would come to me for regular blood tests and lab work, the results of which would

be sent to the UAB gender clinic so their medical providers could monitor their

progress.




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      10.    Unfortunately, not all those patients were fortunate enough to have

supportive parents to take them for treatment at the UAB gender clinic, but those

who did were able to lead the happy and healthy lives that every parent wants for

their child. One of those patients is still under my care to this day.

      11.    As a pediatrician, I see my purpose as increasing access to quality,

evidence-based care for children throughout Alabama. If allowed to go into effect,

the Vulnerable Child Compassion and Protection Act (the “Act”) would do the

opposite. My transgender patient, and every other transgender young person across

Alabama, would be denied evidence-based medical treatment for gender dysphoria.

As a medical provider, this situation is very concerning to me. I am certain that my

transgender patient’s mental health will suffer significantly if she is denied ongoing

medical treatment for her gender dysphoria. If I were to comply with the Act, I would

be limited to referring her to counseling and a psychiatrist. Doing so would be a

violation of my professional and ethical duties as a physician for two reasons: (1)

talk therapy and psychiatric medication alone will not be effective in treating her

gender dysphoria; and (2) I would be refusing to provide proven effective treatments,

namely puberty-blocking medications and estrogen. That course of treatment is

consistent with the standards of care and is well-supported in the medical literature

by data published in reputable and peer-reviewed medical journals.




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      12.    This Act also would criminalize me for making appropriate referrals to

providers, such as the UAB gender clinic, who can offer the specialized care that

transgender young people need. The Act would prevent me from answering parent

questions and educating them about the literature underpinning the current standards

of care. Without primary care providers who can share that critical information with

transgender youth and their parents and connect them with healthcare providers who

treat gender dysphoria, families raising transgender children will experience even

greater isolation and barriers to medical providers with the necessary expertise to

offer quality medical care. Even my support staff are concerned that the broad

language used in the Act could result in them violating the Act simply by helping to

provide competent quality care.

      13.    The Act places me in an impossible situation on multiple fronts. If I

comply with the Act to avoid criminal penalties, I am abandoning my current

transgender patient by not providing medical care consistent with the accepted

standard of care. Further, as a medical provider who accepts Alabama Medicaid, and

thus receives federal funds, complying with the act would require me to discriminate

against transgender patients, jeopardizing all of my patients’ access to care by

violating federal antidiscrimination laws.

      14.    This Act also sets a dangerous precedent for interfering with the

sanctity of the doctor-patient relationship. If the Alabama legislature can criminalize



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